Case 1:25-cv-00766-JEB   Document 44-11   Filed 03/19/25   Page 1 of 4




               EXHIBIT J
      Case 1:25-cv-00766-JEB          Document 44-11         Filed 03/19/25      Page 2 of 4




                          GRACE CARNEY ATTORNEY AFFIRMATION:
                               ATTORNEY OF RECORD FOR G.F.F.


I, Grace Carney, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct to the best of my knowledge and belief:

   1. My name is Grace Carney. I am a Staff Attorney at The Legal Aid Society within the New
      York Immigrant Family Unity Project (“NYIFUP”). I am the attorney of record for plaintiff
      G.F.F. in his removal and bond proceedings. I first entered my appearance in this case on
      December 31, 2024.

   2. I submit this declaration as a supplement to my prior declaration submitted to the Court on
      March 15, 2025.

   3. G.F.F. has vehemently denied membership or any association with Tren de Aragua. G.F.F.
      did not know anyone suspected of being in Tren de Aragua would be at that party where he
      was arrested in December 2024. Notably, G.F.F. and his family fled Venezuela in part due
      to threats the family faced from Tren de Aragua. Moreover, G.F.F. has outlined
      individualized threats received from the gang on account of his sexuality. G.F.F. has
      submitted into the record of his asylum proceedings numerous letters from friends and
      family corroborating his good character and confirming that G.F.F. has never been involved
      in the Tren de Aragua criminal gang. Additionally, G.F.F. possesses no criminal history.
      He maintains, and my own research as his attorney confirms, that he has never been
      arrested or convicted of a crime in the United States, Venezuela, or any other country.

   4. On the morning of March 15, 2025, I received a missed call from a collect call number at
      around 8:50EDT. I promptly checked the ICE Detainee Locator which indicated G.F.F. was
      still present at the El Valle Detention Facility. I thereafter contacted the El Valle Detention
      Facility by telephone to confirm the location of G.F.F. The officer informed me that G.F.F.
      was still at El Valle at that point and would be produced for our 10:00AM EDT call. Shortly
      after 10:00AM EDT I called the El Valle Detention Facility to be connected with G.F.F.
      After being placed on hold I was told that he would not be produced for our call because
      he was in the process of being “moved.”

   5. I informed the officer at the El Valle Detention Facility that as of earlier that morning, a
      temporary restraining order had been issued barring G.F.F.’s removal at this time. I was
      told by the officer that that information was not shared with her. At 10:22AM EDT, while
      on the phone, I emailed a copy of the TRO to her and the El Valle officers I had been
      coordinating with for call scheduling. I also included Harlingen ERO on the email.

   6. I thereafter called the Harlingen, Texas ERO Office, the office in charge of El Valle
      Detention Facility, and left a voicemail about the TRO and G.F.F.’s attempted illegal
      removal. I additionally reached out to the cellphone of Carlos D. Cisneros, Jr., Assistant

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  Case 1:25-cv-00766-JEB          Document 44-11         Filed 03/19/25      Page 3 of 4




   Field Office Director for Harlingen ERO, who was included on a previous email chain with
   the El Valle Detention Facility regarding access to counsel and call scheduling.

7. At around 10:45AM EDT I spoke with Mr. Cisneros on the telephone about the TRO and
   the lawsuit filed the evening before. Mr. Cisneros inquired whether I had sent the TRO via
   email to the Harlingen ERO Outreach, which I confirmed I had. He indicated that he had
   access to that email and would call back shortly. Mr. Cisneros never called back. My later
   attempts to reach out to him directly via telephone went straight to voicemail.

8. The remainder of the day I reached out to several ICE contacts with a copy of the TRO and
   at no point did I receive a response. I also reached out via telephone to the El Valle
   Detention Facility, Harlingen ERO, and the Port Isabel Detention Facility on multiple
   occasions throughout the day without any response.

9. At around 11:00PM EDT, I received a call from Rosa, a family friend of G.F.F. indicating
   that he had returned to the El Valle Detention Facility. She described the call as brief, less
   than one minute, and that he had only informed her he was still in Texas.

10. The following morning, March 16, 2025, I reached out to El Valle Detention Facility to
    schedule a video call with G.F.F., but was told I could not schedule a same-day video call,
    and instead opted for a telephone call that evening at 6:00PM. The officer informed me
    that he had not been processed back into his unit until 2:00AM that morning.

11. At 6:00PM EDT on March 16, 2025, I was able to speak with G.F.F. for the first time since
    March 14, 2025. He told me that on the morning of March 15, 2025, he was awoken for
    breakfast at around 7:30AM CT. During breakfast the officers conducted a count of his
    unit, which he described was not customary thus far during his time at the El Valle
    Detention Facility. During the count, twenty-seven Venezuelans in his unit were called
    from a list. The twenty-seven were taken to a separate room at the El Valle Detention
    Facility with other Venezuelans. Everyone in the room was told that they were being
    transferred to the Port Isabel Detention Facility and told to collect their belongings. After
    collecting their belongings, everyone in the room was handcuffed and their ankles were
    shackled and led onto buses.

12. G.F.F. informed me that three buses full of Venezuelans left the El Valle Detention Facility.
    Instead of arriving at the Port Isabel Detention Facility, the buses arrived at the airport
    about one hour way. When they arrived at the airport, G.F.F. inquired where they were
    going, but at no point did the officers answer his questions.

13. G.F.F. informed me that he was loaded onto a plane in the afternoon. G.F.F. was on a plane
    for about forty minutes to an hour while other individuals were being loaded onto the plane.
    He described the plane as “chaos,” people were crying and frightened. After about forty
    minutes to an hour, a guard boarded the plane and called G.F.F.’s name and three or four
    others. When G.F.F. inquired as to what was going on, he was told he had “just won the
    lottery.”

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      Case 1:25-cv-00766-JEB          Document 44-11         Filed 03/19/25       Page 4 of 4




   14. After G.F.F. and the other individuals were pulled off the plane, they waited on a bus on
       the tarmac at the airport for the next several hours while the remaining planes were being
       loaded. G.F.F. recalled there being four planes total. While G.F.F. was waiting on the bus
       on the tarmac, one of his companions suffered a bloody nose. When the men asked for
       help, because they were shackled, the guards declined. According to G.F.F., one of the
       guards told the man he was “being dramatic.” The guards additionally declined to provide
       the men water when they asked, despite being in the sun in Texas for several hours that
       day.

   15. G.F.F. and the men were at the airport until the planes were loaded, and then left the airport
       at about 5:30PM CT. G.F.F. did not return to El Valle until around 8:00PM CT, but was not
       processed back into his unit until around 2:00AM CT.

   16. It was not until later upon being reprocessed did G.F.F. hear from other detainees at El Valle
       that the guards had been discussing that the plane they were on was set to go to either
       Guantanamo or El Salvador.

   17. During our call, G.F.F. was very emotional, and could not stop crying. He said he was very
       scared that the government would try to deport him again. He said that the officers told
       him they would deport him in 14 days. He said the whole time he was being moved in and
       out of the El Valle Detention Facility on March 15, 2025, he had his paperwork for his
       March 17, 2025 hearing with him, because he was only ever told he was being transferred
       to Port Isabel and wanted to use the time to review his case.

   18. G.F.F. appeared for his March 17, 2025 hearing despite the events of the weekend, as the
       Immigration Judge denied his motion for an emergency continuance. During the hearing,
       G.F.F. explained that he had little sleep and little to eat in the prior 72 hours, and that the
       government twice tried to deport him during that time. During this hearing G.F.F. testified
       for around four hours, recounting his fear of harm of return, and vehemently denying any
       affiliation with Tren de Aragua. The government did not produce any evidence or elicit any
       testimony to substantiate the allegations that G.F.F. is a member of Tren de Aragua.



I, Grace Carney, affirm under penalty of perjury, that the foregoing is true and correct.




         March 19, 2025                                         ______________ ________
                                                                ___________________
         New York, NY                                           Grace T. Carney, Es
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                                                                                 Esqq




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